                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                   3:19-cr-151-RJC

UNITED STATES OF AMERICA                       )
                                               )                ORDER OF FORFEITURE
       v.                                      )
                                               )
JANGO OMAR TOURAY                              )



       THIS MATTER is before the Court pursuant to the United States of America’s Motion for

Order of Forfeiture of the firearm and ammunition involved in the Count One and Count Two

robbery offenses to which Defendant pled guilty. (Doc. No. 41).       For good cause shown and for

the reasons set forth in the Government’s Motion, the Court FINDS that the preponderance of the

evidence supports forfeiture of the firearm.

       IT IS THEREFORE ORDERED:

       1.      Based upon Defendant’s plea of guilty and stipulated Factual Basis, and the

sentencing record, the United States is authorized to seize the following property belonging to

Defendant, and it is hereby forfeited to the United States for disposition according to law, provided,

however, that such forfeiture is subject to any and all third party claims and interests, pending final

adjudication herein:   one Ruger, Model P94, .40 caliber pistol, serial number 340-54857 and

ammunition, seized on or about February 11, 2019 during the investigation of the offenses to

which Defendant pled guilty.

       2.      Pursuant to 21 U.S.C. § 853(n)(1), the Government shall publish notice of this

order; notice of its intent to dispose of the property in such manner as the Attorney General may

direct; and notice that any person, other than the Defendant, having or claiming a legal interest in

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any of the above-listed forfeited property must file a petition with the Court within thirty days of

the final publication of notice or of receipt of actual notice, whichever is earlier. This notice shall

state that the petition shall be for a hearing to adjudicate the validity of the petitioner’s alleged

interest in the property, shall be signed by the petitioner under penalty of perjury, and shall set

forth the nature and extent of the petitioner’s right, title or interest in each of the forfeited properties

and any additional facts supporting the petitioner’s claim and the relief sought. The United States

may also, to the extent practicable, provide direct written notice to any person known to have

alleged an interest in property that is the subject of this Order of Forfeiture, as a substitute for

published notice as to those persons so notified.

        3.      Upon adjudication of third-party interests, if any, this Court will enter a final Order

of Forfeiture pursuant to 21 U.S.C.§ 853(n) and Fed. R. Crim. P. 32(c)(2).

        4.      If no third party files a timely claim, this Order of forfeiture shall become Final and

shall be made part of the sentence and included in the judgment, as provided by Fed. R. Crim. P.

32.2(b)(4) and 32.2(c)(2).

 Signed: October 12, 2021




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